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   11
                             UNITED STATES DISTRICT COURT
   12
                           CENTRAL DISTRICT OF CALIFORNIA
   13

   14
        EXXON MOBIL CORPORATION,                 Case No. 2:22-cv-03225-DMG-MRW
   15
                           Petitioner and        JOINT REPORT OF PARTIES
   16                      Plaintiff,
                                                 PURSUANT TO FRCP 26(F) AND
   17         v.                                 L.R. 26-1
   18   SANTA BARBARA COUNTY                     Scheduling Conference: August 12, 2022
        BOARD OF SUPERVISORS,                    Time: 9:30 A.M.
   19                                            Judge: Hon. Dolly M. Gee
                           Respondent and        Courtroom: 8C
   20                      Defendant.            Complaint Filed: May 11, 2022
                                                 Trial Date: Not Set
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    1         Pursuant to Federal Rule of Civil Procedure 26(f) and Rule 26-1 of the Local
    2   Rules of the Central District of California, and the Court’s Scheduling Conference
    3   order, filed June 27, 2022 (Dkt. No. 13), Petitioner and Plaintiff Exxon Mobil
    4   Corporation (“ExxonMobil”) and Respondent and Defendant Santa Barbara County
    5   Board of Supervisors (the “Board”) submit the following joint report.
    6   I.    SYNOPSIS OF PRINCIPAL ISSUES
    7         ExxonMobil is the owner and operator of the Santa Ynez Unit (“SYU”)
    8   which consists of three offshore platforms—Hondo, Heritage, and Harmony (the
    9   “Platforms”) located on submerged lands leased from the United States in federal
   10   waters off the coast of the County of Santa Barbara (the “County”)—and an
   11   onshore processing center (“LFC”) located in Las Flores Canyon, near Goleta. In
   12   May 2015, one of two pipelines used to transport crude oil processed at SYU
   13   ruptured. The third-party owner and operator of the pipelines subsequently shut
   14   down both pipelines. In September 2017, ExxonMobil filed a permit application
   15   with the County seeking authorization to temporarily truck SYU’s crude oil from
   16   LFC through the County for up to seven years, or until a pipeline became available,
   17   whichever was shorter (the “Project”). In March 2022, the Board denied the permit
   18   for the Project, leaving ExxonMobil without any alternative for transporting oil
   19   collected from SYU until an approved pipeline becomes available.
   20                1. ExxonMobil’s Position
   21         This is an action for a writ of administrative mandate, seeking to vacate and
   22   set aside the denial of the Project pursuant to California Code of Civil Procedure
   23   section 1094.5. ExxonMobil has a vested right to restart and operate SYU and
   24   contends that (1) all conditions necessary for the Board to approve the Project have
   25   been met; and (2) the Board’s denial of the Project was not supported by substantial
   26   evidence.
   27         Following the resolution of the writ of administrative mandate, ExxonMobil,
   28   if necessary, will seek declaratory relief and damages arising from the denial of the

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    1   Project. ExxonMobil contends that the denial (1) violates the Commerce Clause of
    2   the United States Constitution and the California Constitution by unjustifiably
    3   regulating, discriminating against, or burdening commerce beyond the County’s
    4   borders; (2) constitutes an illegal exercise of police power; and (3) constitutes a
    5   taking in violation of the Fifth Amendment to the United States Constitution and
    6   Article I, section 19 of the California Constitution for which ExxonMobil is entitled
    7   to just compensation.
    8                2. The Board’s Position
    9         The Board denies all of ExxonMobil’s claims.
   10                                            ***
   11         The following are brief, summary statements of the parties’ main claims and
   12   defenses. Each statement was drafted by the party making the claims or defenses
   13   and does not represent an agreement by the other party as to its accuracy or the
   14   issues raised therein.
   15         A.     Statement of the Case
   16                1. ExxonMobil’s Position
   17         The Board unlawfully denied ExxonMobil’s application for the Project. The
   18   Board denied the Project based on, among other things, the California
   19   Environmental Quality Act (“CEQA”). CEQA section 15093(a) “requires the
   20   decision-making agency to balance, as applicable, the economic, legal, social,
   21   technological, or other benefits, including region-wide or statewide environmental
   22   benefits, of a proposed project against its unavoidable environmental risks when
   23   determining whether to approve the project.” The Board did not respect this
   24   statutory limit. Instead, it concluded that the Project would be “detrimental to the
   25   environment generally”—a conclusion that was not supported by substantial
   26   evidence. The Board abused its discretion and acted in an arbitrary, capricious, and
   27   unlawful manner by disregarding the limits on review imposed by CEQA.
   28         The County’s Coastal Land Use Plan, Coastal Land Use Plan Policy 6-8(d),
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    1   Coastal Zoning Ordinance (“CZO”) section 35-154.5(i), and Land Use and
    2   Development Code (“LUDC”) section 35.52.060.B.10.b allow non-pipeline oil
    3   transportation if a pipeline is unavailable and the environmental impacts of the
    4   alternative transportation mode are mitigated to the maximum extent feasible.
    5   SYU’s Development Plan expressly incorporates and authorizes ExxonMobil to
    6   transport oil by means other than a pipeline subject to these regulations. The
    7   Project meets these criteria. In denying the Project, the Board declared that
    8   transportation of oil by truck is not appropriate. This conclusion was not consistent
    9   with local ordinances and codes regulating the oil and gas industry, nor was it
   10   supported by substantial evidence. Thus, the denial of the Project constitutes a
   11   prejudicial abuse of discretion.
   12         By this action, ExxonMobil seeks a writ of administrative mandate pursuant
   13   to California Code of Civil Procedure section 1094.5. ExxonMobil also seeks
   14   declaratory relief and damages arising from the Project denial.
   15                 2. The Board’s Position
   16         The Board’s decision denying ExxonMobil’s application to modify its
   17   development permit to allow the transport of crude oil by truck through Santa
   18   Barbara County rather than by pipeline, as permitted by the existing development
   19   permit, was not a prejudicial abuse of the Board’s discretion and did not violate the
   20   Fifth Amendment of the U.S. Constitution, the California Constitution, the
   21   Commerce Clause, or any other federal or state law.
   22         B.      Legal Issues
   23         Key legal issues for the writ of administrative mandate include:
   24              1. Whether the Board’s denial of the Project was supported by substantial
   25                 evidence, Cal. Code of Civ. Proc. § 1094.5(c);
   26              2. Whether the Board prejudicially abused its discretion and acted in an
   27                 arbitrary, capricious, and unlawful manner in excess of its jurisdiction
   28                 by denying the Project; and
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    1              3. Whether the Board’s denial of the Project violates the County’s
    2                 Coastal Land Use Plan and Coastal Land Use Plan Policy 6-8(d), as
    3                 well as CZO section 35-154.5(i) and LUDC section 35.52.060.B.10.b.
    4         Additional issues, to be resolved after the writ of administrative mandate,
    5   include:
    6              4. Whether the Board’s denial of the Project constitutes extraterritorial
    7                 regulation of, discrimination against, or an undue burden on interstate
    8                 commerce;
    9              5. Whether the Board’s denial of the Project constitutes an invalid
   10                 exercise of police power; and
   11              6. Whether ExxonMobil is entitled to just compensation pursuant to the
   12                 Fifth Amendment to the United States Constitution and Article I,
   13                 section 19 of the California Constitution for the denial of the Project
   14                 and the amount of said compensation.
   15         C.      Relief
   16                 1. ExxonMobil’s Position
   17         ExxonMobil seeks a writ of administrative mandate pursuant to California
   18   Code of Civil Procedure section 1094.5 compelling the Board to vacate and set
   19   aside the denial of the Project and directing the Board to reconsider the Project in
   20   light of the requirements of CEQA and all other applicable state and local policies,
   21   laws, ordinances, and regulations. ExxonMobil also seeks declaratory relief, just
   22   compensation, damages, and its attorneys’ fees and costs.
   23                 2. The Board’s Position
   24          The Board denies all of ExxonMobil’s claims for relief.
   25   II.   PROPOSED SCHEDULE
   26         A.      Bifurcation
   27         The parties propose that the case be litigated in two phases and that all
   28   disclosures and discovery related to the second phase be stayed pending resolution
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    1   of the first.
    2          Phase I would deal with ExxonMobil’s first cause of action: petition for writ
    3   of administrative mandate. The parties anticipate that the administrative record will
    4   be the primary evidence for Phase I and that no additional discovery will be
    5   required. The parties agree that Phase I should be resolved by cross motions for
    6   summary judgment and that a trial will likely not be necessary. No additional
    7   motion practice is anticipated. Because the outcome of Phase I may resolve the
    8   case, this report does not include a Schedule of Pretrial & Trial Dates Worksheet.
    9   All dates applicable to Phase I are stated Section II. B, below.
   10          Phase II would include all the remaining causes of action. The parties agree
   11   to meet and confer regarding Phase II and will submit a supplemental Joint Report,
   12   including a Schedule of Pretrial & Trial Dates Worksheet, if necessary after the
   13   resolution of Phase I.
   14          B.       Phase I Timeline
   15          The parties agree to the following schedule for Phase I:
   16
           Matter                                           Joint Requested Date
   17
           Administrative Record to be Filed                December 13, 2022
   18
           Any Motion to Supplement or Complete the January 13, 2022*
   19      Administrative Record
   20      Board Motion for Summary Judgment                February 13, 2023
   21      ExxonMobil Cross-Motion for Summary              March 30, 2023
           Judgment and Opposition to Board Motion
   22      for Summary Judgment
   23      Board Reply on Motion for Summary                May 1, 2023
           Judgment and Opposition to ExxonMobil
   24      Cross-Motion for Summary Judgment
   25      ExxonMobil Reply on Cross-Motion for             May 31, 2023
           Summary Judgment
   26
           Settlement Conference Completion Date            [TBD]
   27
        *In the event that any motion to supplement or complete the administrative record
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    1   is timely filed, the remaining dates will be stayed and extended by 30 days
    2   following resolution of such motion.
    3          The parties agree that either party, individually or collectively, may seek
    4   leave of the Court to change the foregoing dates for good cause.
    5   III.   DISCOVERY FOR PHASE I
    6          A.    Status of Discovery
    7          On June 6, 2022, ExxonMobil served the Board with a letter requesting that
    8   it prepare and certify the administrative record for the Project permit application
    9   proceedings. Pursuant to California Code of Civil Procedure section 1094.6(c) and
   10   the above proposed schedule, the administrative record should be compiled and
   11   certified by the Board by no later than December 13, 2022.
   12          B.    Proposed Discovery Plan
   13                1. Discovery Timing and Deadlines
   14          At this time, outside of the preparation and certification of the administrative
   15   record, the parties do not anticipate that additional discovery will be necessary for
   16   Phase I. If possible, the Board will share a draft of the administrative record with
   17   ExxonMobil before lodging it with the Court, to minimize any need for motions
   18   regarding the administrative record. ExxonMobil reserves its right to seek
   19   supplementation of the record, if necessary, after reviewing the Board’s
   20   administrative record and a meet and confer by counsel. 1
   21                2. Initial Disclosures
   22          The parties agree to defer or potentially forgo initial disclosures related to
   23   Phase I pending preparation and review of the administrative record.
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          California Code of Civil Procedure section 1094.5, governing administrative writ
        petition proceedings, dictates that the court can consider extra-record evidence only
   26
        if: (a) in the exercise of reasonable diligence the parties could not have produced
   27   the evidence during the underlying proceedings; or (b) the evidence was improperly
        excluded during the administrative proceedings. Cal. Code of Civ. Proc. §
   28
        1094.5(e).
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    1                  3. Preservation of Discoverable Information
    2         The parties agree to meet and confer to negotiate a protocol for the
    3   production of any Electronically Stored Information (“ESI”), to the extent the need
    4   for ESI arises.
    5   IV.   MOTION PRACTICE FOR PHASE I
    6         A.       Motions
    7                  1. Non-Dispositive Motions
    8         At this time, the parties do not anticipate filing any non-dispositive motions
    9   for Phase I.
   10                  2. Dispositive Motions
   11         The parties anticipate that Phase I of this matter will be resolved by cross-
   12   motions for summary judgment based on a certified administrative record for the
   13   Project.
   14         B.       Proposed Schedule of Law and Motion Matters
   15                  1. Non-Dispositive Motion Filing Deadline
   16         At this time, the parties do not anticipate filing any non-dispositive motions
   17   for Phase I.
   18                  2. Dispositive Motion Filing Deadline
   19         The preparation and certification of the administrative record in this matter
   20   should be completed by no later than December 13, 2022. The parties propose the
   21   deadlines stated in Section II.B, above, which may be stayed and extended by 30
   22   days following resolution of any motion to supplement the record, if necessary.
   23   The parties respectively reserve their rights to seek amendment to those proposed
   24   dates for good cause.
   25   V.    SETTLEMENT AND ALTERNATIVE DISPUTE RESOLUTION
   26         The parties have not engaged in settlement discussions following the Board’s
   27   decision denying the Project. The parties agree that ADR scheduling should be
   28   addressed after the resolution of Phase I. Among the Suggested ADR Procedures
                                                 -8-
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    1   under Local Rule 16-15.4, the parties agree to explore private mediation at that
    2   time.
    3   VI.     TRIAL FOR PHASE I
    4           The parties anticipate that trial for Phase I is unlikely because the writ of
    5   administrative mandate should be resolved by motions for summary judgment. In
    6   the event the Phase I issues are not resolved on summary judgment, pursuant to
    7   California Code of Civil Procedure section 1094.5(a), the Court will decide
    8   ExxonMobil’s mandamus claim without a jury.
    9   VII. OTHER ITEMS
   10           A.    Pleading Amendments
   11           The parties do not anticipate amending their pleadings.
   12           B.    Additional Parties
   13           The parties do not anticipate adding other parties to this action.
   14           C.    Counsel
   15           Lead counsel for ExxonMobil in this matter is Dawn Sestito. Additional
   16   counsel may include Justine M. Daniels, James Auslander, and Jacob P. Duginski.
   17           Lead counsel for the Board in this matter is Mary Pat Barry.
   18           D.    Other Issues Affecting Status or Management of Case
   19                 1. ExxonMobil’s Position
   20           ExxonMobil has requested that the Board prepare the administrative record
   21   from the hearing denying its permit application. The Board has 190 days from the
   22   date of that request, June 6, 2022, to provide that record. Cal. Code of Civ. Proc. §
   23   1094.6(c). Until ExxonMobil is in receipt of that record, it will not be in a position
   24   to prepare any anticipated motions.
   25                 2. The Board’s Position
   26           At this early stage, the Board is not aware of any other issues that would
   27   affect the status or management of the case.
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     1         E.    Whether Magistrate Judge Will Preside
     2         The Board does not consent to have a mutually agreeable Magistrate Judge
     3   from the Court’s Voluntary Consent List preside over this action for all purposes.
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     5
               Dated: July 28, 2022                  Respectfully submitted,

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     7
                                                     By: /s/ Dawn Sestito
                                                         Dawn Sestito
     8
                                                     Attorney of Record for Petitioner
     9                                               and Plaintiff
                                                     Exxon Mobil Corporation
    10

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    12         Dated: July 28, 2022                  RACHEL VAN MULLEM
                                                     COUNTY COUNSEL
    13

    14
                                                     By: /s/ Mary Pat Barry
    15                                                   Mary Pat Barry
                                                         Sr. Deputy County Counsel
    16
                                                     Attorneys for Respondent and
    17                                               Defendant, Santa Barbara County
                                                     Board of Supervisors
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     1                             CERTIFICATE OF SERVICE
     2         On July 28, 2022, I caused a true and correct copy of the foregoing Joint
     3   Report to be served on all counsel of record by filing the document with this
     4   Court’s electronic filing system. I hereby certify that I have served all counsel of
     5   record electronically.
     6                                                           /s/ Justine Daniels
     7
                                                           Attorney of Record for Petitioner and
     8                                                     Plaintiff Exxon Mobil Corporation
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